 Case 1:19-cv-01105-RGA Document 31 Filed 02/07/22 Page 1 of 2 PageID #: 542
                                                               Daniel M. Silver                McCarter & English, LLP
                                                               Partner                         Renaissance Centre
                                                               T. 302-984-6331                 405 N. King Street, 8th Floor
                                                               F. 302-691-1260                 Wilmington, DE 19801-3717
                                                               dsilver@mccarter.com            www.mccarter.com




February 7, 2022

VIA CM/ECF
The Honorable Richard G. Andrews
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 9, Room 6325
Wilmington, DE 19801-3555

        Re:       Interactive Games LLC v. DraftKings, Inc., C.A. No. 19-1105-RGA

Dear Judge Andrews:

         Pursuant to the Court’s Oral Order (D.I. 30) (the “Order”) instructing the Parties to file a
joint status report within three days from the date of the Order, Plaintiff Interactive Games LLC
and Defendant DraftKings Inc. (collectively, the “Parties”) submit this letter to advise the Court
of the status of the case.

         First, DraftKings filed petitions for Inter Partes Review for all asserted patents in this
case (“the IPRs”). On January 6, 2021, the Patent Trial and Appeal Board (“PTAB”) denied
institution of IPR2020-01108 concerning ’302 Patent and instituted the remaining three IPRs.
With respect to IPR2020-01108 for which the Board denied institution, DraftKings filed a
request for rehearing on February 5, 2021, which was denied. On January 4, 2022, the PTAB
issued final written decisions (“FWDs”) finding all challenged claims of the ‘901, ‘231, and ‘967
unpatentable.

 USP 8,616,967                     IPR2020-01110                         FWD – all challenged claims
                                                                         unpatentable
 USP 8,956,231                     IPR2020-01109                         FWD – all challenged claims
                                                                         unpatentable
 USP 8,974,302                     IPR2020-01108                         institution denied, rehearing
                                                                         requested, and denied
 USP 9,430,901                     IPR2020-01107                         FWD – all challenged claims
                                                                         unpatentable

       Second, Plaintiff is still determining whether it will seek an appeal of the final written
decisions in the IPRs. The deadline to appeal is March 8, 2022.

        Third, the Court ordered that the stay in this case continue “until there is a PTAB
resolution, either denying institution or reaching a decision on the merits.” D.I. 25. The Court



ME1 35638540v.1
 Case 1:19-cv-01105-RGA Document 31 Filed 02/07/22 Page 2 of 2 PageID #: 543

                                                                                   February 7, 2022
                                                                                             Page 2




further dismissed Defendant’s motion to dismiss (D.I. 10) with leave to refile with updated
briefing when the case is unstayed. Id. Accordingly, there are no motions pending before the
Court at this time. However, once the stay is lifted, Defendants intend to refile their Motion to
Dismiss with respect to at least the ‘302 Patent, for which IPR was not instituted.

        Accordingly, the Parties propose keeping the stay in place at least until the deadline for
Plaintiffs to appeal the IPRs. In the event that any appeal is filed, the Parties propose
maintaining the stay until the resolution of all appeals.


Respectfully submitted,

/s/ Daniel M. Silver

Daniel M. Silver (#4758)

cc: All Counsel of Record (via CM/ECF and electronic mail)




ME1 35638540v.1
